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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ENTERTAINMENT ONE UK LTD.,
                                                             Case No.: 1:18-cv-7689
       Plaintiff,
                                                             Judge Matthew F. Kennelly
v.
                                                             Magistrate Judge M. David Weisman
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                    NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

 Dismissal, without prejudice, as to the following Defendant(s) on Schedule A, with leave to

 reinstate within ninety (90) days if the agreed settlement payment is not received. After ninety

 (90) days, the dismissal is with prejudice.

               NO.                                      DEFENDANT
               331                                        golden-top
               411                                        newtop99
               164                             Shenzhen Ribon Creative Co., Ltd.
                17                 Chuzhou Aiwall Householding Decoration Co., Ltd.
               442                                       sexxyy630lt
               372                                         Julytown
               301                                       easy-savings
               254                                      babyandmama
               376                                      keepfashion520
               478                                        top-styles2
               419                                      pichome12074
               441                                        seanmady
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           304                                e-essyshoping
           426                                prince-of-chu
           275                               chaoqiang-crystal
           300                                 easygo2016
           270                                  care4urcar
           326                                   fytxone
           205                       Yiwu Hanrong Trading Co., Ltd.
            35                      Donghai Liberty Jewelry Co., Ltd.
           303                                   eb-bear
           195             Xingning Green Lantern Optoelectronic Light Factory
           342                                happyline9988
            64                     Guangzhou Yixun Trading Co., Ltd.



DATED: December 20, 2018                      Respectfully submitted,

                                              /s/ Keith A. Vogt
                                              Keith A. Vogt (Bar No. 6207971)
                                              Keith Vogt, Ltd.
                                              1033 South Blvd., Suite 200
                                              Oak Park, Illinois 60302
                                              Telephone: 708-203-4787
                                              E-mail: keith@vogtip.com

                                              ATTORNEY FOR PLAINTIFF




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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on December 20, 2018 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all
registered attorneys of record.

                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt




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